Case 1:05-cr-10024-.]DT Document 23 Filed 07/12/05 Page 1 of 2 Page|D 27

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION F ' L E D BY
UNiTED sTArEs or AMERICA, m
Plaintiff, 1-
vs. No. 05-10024T vig':§sb:v:of°°ck"?';;m
KEITH RoBrNsoN,
Defendant.

ORDER CONT[NUING TRIAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant, with no objection from the government and for
good cause sbown, the report date which is currently scheduled for July 13, 2005, and the trial
date which is currently scheduled for August 1, 2005, are hereby continued The defendant
contends that additional time is needed to prepare for trial.

The court finds that defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to

prepare for trial. Accordin l the trial is continued from Au ustl 2005 to Au st 10 2005 at

 

9:30 A.M. The resulting period of delay, from August 1, 2005 , to August 10, 2005, is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A).
A new report/motion date has been set for August 3, 2005, at 9:00 a.m.
[T IS SO ORDERED.

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JAM,IY§). TODD
UNI STATES DI TRICT JUDGE
/ / W

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DATE 0

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with nine ss and/or az{b) Fach on 553

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 1:05-CR-10024 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

